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Attomeys for Plaintiff




                         IN THE UNITED STATES DISTzuCT COURT
                               FOR THE DISTzuCT OF IDAHO


  ARNOLD BORRESON,                                 )       CASE NO.
                                                   )
         Plaintiff,                                )
                                                   )       COMPLAINT AND DEMAND FOR
  -vs-                                             )       JURY TRIAL
                                                   )
  MONSANTO COMPANY,                                )
                                                   )
         Defendant.                                )

                             COMPLAINT AND JURY DEMAND

                Plaintiff, Arnold Borreson, (Plaintiff) by and through his attomeys, ROSSMAN LAW

GROUP, PLLC, respectfully submits the following Complaint and Jury Demand against Monsanto

Company ("Defendant"), and alleges the following




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                                       NATURE OF THE ACTION

           l.        This action seeks to recover damages for the injuries sustained by Plaintiffs as the

direct and proximate result of the wrongful conduct and negligence of the Defendant in connection

with the design, development, manufacture, testing, packaging, promoting, marketing, adverlising,

distributing, labeling, and selling of the herbicide Roundup@, containing the active ingredient

glyphosate.

           2.        Plaintiffs maintain that Roundup@ and/or glyphosate is defective, dangerous to

human health, unfit and unsuitable to be marketed and sold in commerce, and lacked proper

wamings and directions as to the dangers associated with its use.

           3.        Plaintiffs' injuries, like those striking thousands of similarly situated victims across

the country, were avoidable.

                                     JURSIDICTION AND VENUE

           4.        This Court has jurisdiction on Defendant pursuant to 28 U.S.C $ 1332 because there

is   complete diversity      of   citizenship between Plaintiffs and Defendant. Defendant          is   either

incorporated and/or has their principal place of business outside of the state in which Plaintiff

resides.

           5.        The amount in controversy exceeds $75,000.00 exclusive of interest and costs.

           6.        There is complete diversity     of citizenship   between Plaintiffs and Defendant.

Plaintiffs are residents and citizens of and are and were domiciled in the State of Idaho. As set forth

more fully below, Defendant is an entity organized in states other than the State of Idaho,

Defendant's principal place of business in a state other than the State of Idaho, and Defendant is not

a citizen or resident of the State of Idaho.



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           7.        Venue is proper   in this District pursuant to 28 U.S.C. $ 1391(a),             because


Defendants marketed, advertised, and distributed the dangerous product in this District; Plaintiffs

resided inthis District; Plaintiffs'harms, losses, anddamages occurred inthisDistrict; Defendants do

substantial business in the State of Idaho and within this District; and at all times relevant hereto,

Defendants developed, manufactured, promoted, marketed, distributed, warranted, and sold

Roundup@ in interstate commerce.

                                                 PARTIES

           8.        Plaintiff, Arnold Borreson is a citizen of Idaho and resides in Mountain Home,

Idaho. Plaintiff brings this action for personal injuries sustained by Plaintiff   s   exposure to Roundup@

("Roundup") containing the active ingredient glyphosate and the surfactant polyethoxylated tallow

amine ("POEA"). As a direct and proximate result of being exposed to Roundup, PlaintifPs decedent

developed Non-Hodgkin' s Lymphoma.

           9    .    "Roundup" refers to all formulations of Defendant' s Roundup products that contain

the active ingredient glyphosate.

            10.      Defendant MONSANTO COMPANY is a Delaware corporation, in "active" status,

with   a   principle place of business in St. Louis, Missouri.

            I   1.   Defendant advertises and sells goods, specifically Roundup, in Elmore County,

Idaho.

            12.      Defendant transacted and conducted business within the State             of   Idaho that

relates to the allegations in this Complaint.

            13.      Defendants derived substantial revenue from goods and products used in the State of

Idaho.



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        14.      Defendant expected or should have expected their acts to have consequences

within the State of Idaho, and derived substantial revenue from interstate commerce.

        15.      Defendant engaged     in the business of     designing, developing, manufacturing,

testing, packaging, marketing, distributing, labeling, and/or selling Roundup. Defendant is authorized

to do business in Idaho and derives substantial income from doing business in this state.

        16.      Upon information and belief, Defendant purposefully availed themselves of the

privilege   of conducting   activities with the State   of   Idaho, thus invoking the benefits and

protections of its laws.

        17.      Upon information and belief, Defendant did design, sell, advertise, manufacture

and/or distribute Roundup, with full knowledge of its dangerous and defective nature.

                                       FACTUAL ALLEGATIONS

        18.      At all relevant times, Defendant   was in the business of, and did, design, research,

manufacture, test, advertise, promote, market, sell, distribute, and/or have acquired and is

responsible for Defendants who have designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and distributed the commercial herbicide Roundup.

        19.      Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri. It is the world's leading producer of glyphosate.

        20.      Defendant discovered the herbicidal properties of glyphosate during the 1970's

and subsequently began to design, research, manufacture, sell and distribute glyphosate based

"Roundup" as a broad spectrum herbicide.

        2I.      Glyphosate is the active ingredient in Roundup.




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         22.     Glyphosate is a broad-spectrum herbicide used to kill weeds and grasses known to

compete with commercial crops grown around the globe.

         23.     Glyphosate is a "non-selective" herbicide, meaning it kills indiscriminately based

only on whether a given organism produces a specific enzyme,5-enolpyruvylshikimic acid-3-

phosphate synthase, known as EPSP synthase.

         24.     Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-phosphate synthase

that interferes with the shikimic pathway in plants, resulting in the accumulation of shikimic acid in

plant tissue and ultimately plant death.

         25.     Sprayed as a liquid, plants absorb glyphosate directly through their leaves, stems,

and roots, and detectable quantities accumulate in the plant tissues.

         26.     Each year, approximat ely 250 million pounds of glyphosate are sprayed on crops,

commercial nurseries, suburban lawns, parks, and golf courses. This increase in use has been

driven largely by the proliferation of genetically engineered crops, crops specifically tailored to

resist the activity of glyphosate.

         27.     Defendant is intimately involved       in the development, design,     manufacture,

marketing, sale, and/or distribution of genetically modified ("GMO") crops, many of which are

marketed as peing resistant to Roundup i. e., "Roundup Ready@."        A, of 2009, Defendant   was the


world's leading producer of seeds designed to be Roundup Ready@. Ir, 2010, an estimate d 70%

of corn and cotton , and   90Yo   of soybean fields in the United   States contained Roundup Ready@

seeds.




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        28   .   The original Roundup, containing the active ingredient glyphosate, was introduced in


I974. Today, glyphosate products       are among the    world's most widely used herbicides.l

        29,      For nearly 40 years, consumers, farmers, and the public have used Roundup,

unaware of its carcinogenic properties.

                    REGISTRATION OF HERBICIDES UNDER FEDERAL LAW

        30.      The manufacture, formulation and distribution of herbicides, such as Roundup, are

regulated under the Federal Insecticide, Fungicide, and Rodenticide Act ("FIFRA"), 7. U.S.C.          $


136 et seq. FIFRA requires that all pesticides be registered with the Environmental Protection

Agency ("EPA) prior to their distribution, sale, or use, except as described by FIFRA 7 U.S.C.

l36a(a).

        31.      The EPA requires as part of the registration process, among other requirements, a

variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential non-target organisms, and other adverse effects on the environment. Registration by the

EPA, however, is not an assurance or finding of safety. The determination the EPA makes in

registering or re-registering a product is not that the product is "safe," but rather that use of the

product in accordance with its label directions        "will not generally cause unreasonable   adverse

effects on the environment;'7 U.S.C. $ 136(a)(c)(5)(D).

        32.      FIFRA defines "unreasonable adverse effects on the environment" to mean "any

unreasonable risk    to man or the environment, taking into account the economic,           social, and

environmental costs and benefits of the use of any pesticide." T U.S.C. $ 136(bb). FIFRA thus




I Backgrounder, History of Monsanto's Glyphosate Herbicides,   June 2005


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requires the EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

        33.     The EPA and the State of Idaho registered Roundup for distribution, sale, and

manufacture in the United States and the State of Idaho.

        34.     FIFRA generally requires that the registrant, Monsanto, conduct health and safety

testing of pesticide products. The government is not required, nor is it able, to perform the product

tests that are required of the manufacturer.

        35.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

productsthroughaCongressionally-mandatedprocesscalled"re-registration."7              U.S.C. $ 136a-1.In

order to reevaluate these pesticides, the EPA demands the completion of additional tests and the

submission of data for the EPA's review and evaluation.

        36.     In the   case   of glyphosate and Roundup, the EPA had planned on releasing its

preliminary risk assessment - in relation to the registration process   -   no later than July 201 5 . The

EPA completed its review of glyphosate         in   early 2015, but delayed releasing the assessment

pending further review in light of the World Health Organization's March 24,2015 finding that

glyphosate    is a "probable carcinogen" as demonstrated by the mechanistic evidence of
carcinogenicity in humans and sufficient evidence of carcinogenicity in animals.

                            MONSANTO'S       REPRESENTATIONS
                            REGARDING THE SAFETY OF ROUNDUP@

        37       In   7996, the New York Attorney General ("NYAG") filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup products. Specifically, the

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lawsuit challenged Monsanto's general representations that          its spray-on   glyphosate-based

herbicides, including Roundup, were "safer than table salt" and "practically non-toxic" to

mammals, birds and fish. Among the representations the NYAG found deceptive and misleading

about the human and environmental safety of Roundup are the following:

                a) Remember that environmentally friendly Roundup herbicide is
                     biodegradable.   It won't build up in the soil so you can use
                     Roundup     with   confidence along customers' driveways,
                     sidewalks and fences.


                b)   And remember that Roundup is biodegradable and won't build
                     up in the soil. That will give you the environmental confidence
                     you need to use Roundup everywhere you've got a weed,
                     brush, edging or trimming problem.


                c)   Roundup biodegrades into naturally occurring elements.


                d)   Remember that versatile Roundup herbicide stays where you
                     put it. That means there's no washing or leaching to harm
                     customers' shrubs or other desirable vegetation.


                e) This non-residual herbicide will not wash or leach in the soil. It
                     ... stays where you apply it.



                0    You can apply Accord with " confidence because it will
                     stay where you put it" it bonds tightly to soil particles,
                     preventing leaching. Then, soon after application, soil
                     microorganisms biodegrade Accord into natural products.
                     Glyphosate is less toxic to rats than table salt following acute
                     oral ingestion.

                g)   Glyphosate's safety margin is much greater than required. It
                     has over a 1,000-fold safety margin in food and over a700-
                     fold safety margin for workers who manufacture it or use it.




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                 h) You can feel good about using herbicides by Monsanto.
                      They carry a toxicity category rating of 'practically non-
                      toxic' as it pertains to mammals, birds and fish.

                 i)   "Roundup can be used where kids and pets will play and breaks
                      down into natural material." This ad depicts a person with
                      his head in the ground and a pet dog standing in an area
                      which has been treated with Roundup.2


       3   8.   On November     1   9, 1 996, Monsanto entered into an Assurance of Discontinuance with

NYAG, in which Monsanto agreed, among other things, "to             cease and desist   from publishing or

broadcasting any advertisements [in New York] that represent, directly or by implication" that:

                 a) its   glyphosate-containing pesticide products or any
                      component thereof are safe, non-toxic, harmless or
                      free from risk.


                 b) its glyphosate-containing      pesticide products or any
                      component thereof           manufactured, formulated,
                      distributed or sold by Monsanto are biodegradable.

                 c) its glyphosate-containing  pesticide products or any
                      component thereof stay where they are applied under
                      all circumstances and will not move through the
                      environment by any means.


                 d) its glyphosate-containing    pesticide products or any
                      component thereof  are "good" for the environment or
                      are "known for their environmental characteristics."


                 e)   glyphosate-containing pesticide products or any
                      component thereof are safer or less toxic than
                      common consumer products other than herbicides.


                 0    its glyphosate-containing products or any component
                      thereof might be classified as "practically non-toxic."


       2 Attorney General of the State of New York, In the Matter of Monsanto Company, Assurance   of
       Discontinuance Pursuant to Executive Law $ 63(15) (Nov. 1996).

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        39.       Monsanto did not alter its advertising in the same manner in any state other than

New York, and on information and belief has not done so today.

        40.      In2009, France's highest court ruled that Monsanto had not told the truth about the

safety of Roundup. The French court affirmed an earlier judgment that Monsanto had falsely

advertised its herbicide Roundup as "biodegradable" and that it left the soil clean."3

                         EVIDENCE OF CARCINOGENICITY IN ROUNDUP

        41. As early as the 1980's Monsanto                   was aware    of glyphosate's carcinogenic
properties.

        42.      On March 4, 1985, a group of the Environmental Protection Agency's ("EPA")

Toxicology Branch published       a memorandum      classiffing glyphosate as a Category C oncogene.4

Category C oncogenes are possible human carcinogens with limited evidence of carcinogenicity.

        43. ln 1986, the EPA issued a Registration               Standard for glyphosate (NTIS PB87-

103214). The Registration standard required additional phytotoxicity, environmental fate,

toxicology, product chemistry, and residue chemistry studies.             All of the data required was
submitted and reviewed and/or waived.5

        44.      In October 1 991 the EPA published     a   Memorandum entitled "Second Peer Review of

Glyphosate." The memorandum changed glyphosate's classification to Group E (evidence of non-

carcinogenicity for humans). Two peer review committee members did not concur with the

conclusions of the committee and one member refused to sign.6



3 Monsanto Guilty in 'False Ad' Row, BBC Oct. 15, 2009 available at
http ://news.bbc. co.uk/2/hi/europe/83 0 8903. stm.
4 Consensus Review of Glyphosate, Casewell No. 661A, March 4, 1985. United States Environmental Protection
Agency.
5 http://www.epa.gov/oppsrd I /reregistration/REDs/factsheets/0178fact.pdf
6Second Peer Review of Glyphosate, CAS No. l07l-83-6. October 30, 1881. United States Environmental


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         45. In addition to the toxicity of the active molecule,                  many studies support the

hypothesis that glyphosate formulations found              in   Defendants' Roundup products are more

dangerous and toxic than glyphosate alone.T As early as 1991 evidence existed demonstrating that

glyphosate formulations were significantly more toxic than glyphosate alone.8

         46.         In2002, Julie Marc published a study entitled "Pesticide Roundup Provokes Cell

Division Dysfunction at the Level of CDKl/Cyclin B Activation."

         47   .      The study found that Defendant's Roundup caused delays in the cell cycles of sea

urchins, while the same concentrations of glyphosate alone proved ineffective and did not alter

cell cycles.

         48.         In2004, Julie Marc published a study entitled "Glyphosate-based pesticides affect

cell cycle regulation." The study demonstrated a molecular link between                   glyphosate-based

products and cell cycle dysregulation.

         49.         The study noted that "cell-cycle dysregulation is a hallmark of tumor cells and

human cancer. Failure in the cell-cycle checkpoints leads to genomic instability and subsequent

development of cancers from the initial affected cell." Further, "fs]ince cell cycle disorders such as

cancer result from dysfunction of unique cell,         it was of interest to evaluate the threshold dose of

glyphosate affecting cells. "9

         50.         In 2005, Francisco Peixoto published a study showing that Roundup's effects on

rat liver mitochondia are much more toxic and harmful than the same concentrations of glyphosate

alone.



Protection Agency.
J Marlinez et al. 2007 ; Benachour 2009; Gaspier et al; Peixoto 2005; Marc 2004
8 Marlinez et al   l99l

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         51.       The Peixoto study suggested that the harmful effects of Roundup on mitochondrial

bioenergetics could not be exclusively attributed to glyphosate and could be the result of other

chemicals, namely the surfactant POEA, or alternatively due to the possible synergy between

glyphosate and Roundup formulation products.

         52.       ln2009,Nora Benachour and Gilles-Eric Seralini published    a study examining the


effects of Roundup and glyphosate on human umbilical, embryonic, and placental cells.

         53.       The study used dilution levels of Roundup and glyphosate far below agricultural

recommendations, corresponding with low levels of residues in food. The study concluded that

supposed "inert" ingredients, and possibly POEA, change human cell permeability and amplifu

toxicity of glyphosate alone. The study further suggested that determinations of glyphosate

toxicity should take into account the presence of adjuvants, or those chemicals used in the

formulation of the complete pesticide. The study confitmed that the adjuvants in Roundup are not

inert and that Roundup is always more toxic than its active ingredient glyphosate.

         54.       The results of these studies were confirmed in recently published peer-

reviewed studies and were at all times available and/or known to Defendants.

         55.       Defendant knew          or   should have known that Roundup   is more toxic   than

glyphosate alone and that safety studies              on Roundup, Roundup's adjuvants and "inert"

ingredients, andlor the surfactant POEA were necessary to protect Plaintiff from Roundup.

         56.       Defendant knew or should have known that tests limited to Roundup's active

ingredient glyphosate were insufficient to prove the safety of Roundup.




9 (Molinari, 2000; Stewaft, et al. 2003)


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         57.     Defendant failed   to   appropriately and adequately test Roundup, Roundup's

adjuvants and "inert" ingredients, and/or the surfactant POEA to protect Plaintiff from Roundup.

         58.     Rather than performing appropriate tests, Defendant relied upon flawed industry-

supported studies designed to protect Defendants' economic interests rather than Plaintiff and the

consuming public.

         59.     Despite their knowledge that Roundup was considerably more dangerous than

glyphosate alone, Defendants continued to promote Roundup as safe.

                                           SIFICATION OF'GLYPH

         60.      The International Agency for Research on Cancer ("IARC") is the specialized

intergovernmental cancer agency the World Health Organization ("WHO") of the United Nations

tasked   with conducting and coordinating research into the causes of cancer.

         61.      An IARC Advisory Group to Recommend Priorities for IARC Monographs during

2015-2019 met      in April2014. Though    nominations for the review were solicited, a substance

must meet two criteria to be eligible for review by the IARC Monographs: there must already be

some evidence of carcinogenicity of the substance, and there must be evidence that humans are

exposed to the substance.

         62.      IARC set glyphosate for review in 2015-2016. IARC uses five criteria for

determining priority in reviewing chemicals. The substance must have a potential for direct impact on

pubic health; scientific literature to support suspicion of carcinogenicity; evidence   of   significant

human exposure; high public interest andlor potential to bring clarity to a controversial area and/or

reduce public anxiety or concern; related agents similar to one given high priority     by the   above




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considerations. Data reviewed is sourced preferably from publicly accessible, peer- reviewed

data.

        63.      On March 24,2015, after its cumulative review of human, animal, and DNA studies

for more than one (1) year, many of which have been in Defendants' possession since as early      as


1985, the IARC's working group published           its conclusion that the glyphosate contained in

Defendants' Roundup herbicide, is a Class 2A "probable carcinogen" as demonstrated by the

mechanistic evidence of carcinogenicity in humans and sufficient evidence of carcinogenicity in

animals.

        64.      The IARC's    full Monograph      was published on July 29, 2015 and established

glyphosate as a class 2A probable carcinogen to humans. According to the authors glyphosate

demonstrated suffrcient mechanistic evidence (genotoxicity and oxidative stress) to warrant a2A

classification based on evidence of carcinogenicity in humans and animals.

        65.      The IARC Working Group found an increased risk between exposure to glyphosate

and non-Hodgkin's lymphoma ("NHL") and several subtypes of NHL, and the increased risk

continued after adjustment for other pesticides.

        66.      The IARC also found that glyphosate caused DNA and chromosomal damage in

human cells.

                        EARLIER EVIDENCE OF GLYPHOSATE'S DANGER

        67.      Despite the new classification by the IARC, Defendant had ample evidence of

glyphosate and Roundup's genotoxic properties for decades.

        68.      Genotoxicity refers to chemical agents that are capable of damaging the DNA within a

cell through genetic mutations, which is a process that is believed to lead to cancer.



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        69. In 1997, Chris Clements published          "Genotoxicity of select herbicides in Rana

catesbeiana tadpoles using the alkaline single-cell gel DNA electrophoresis (comet) assay."

       70.        The study found that tadpoles exposed     to Roundup showed significant DNA

damage when compared with unexposed control animals.

       7I.        Both human and animal studies have shown that glyphosate and glyphosate-based

formulations such as Roundup can induce oxidative stress.

       72.        Oxidative stress and associated chronic inflammation are believed to be involved in

carcinogenesis.

       73.        The IARC Monograph notes that "[s]trong evidence exists that glyphosate, AMPA

and glyphosate-based formulations can induce oxidative stress."

       74.        [n2006 C6sar Paz-y-Mifio published a study examining DNA damage in human

subjects exposed to glyphosate.

       75.        The study produced evidence of chromosomal damage in blood cells showing

significantly greater damage after exposure to glyphosate than before in the same individuals,

suggesting that the glyphosate formulation used during aerial spraying had a genotoxic effect on

exposed individuals.

       76.        The IARC Monograph reflects the volume of evidence of glyphosate pesticides'

genotoxicity noting "[t]he evidence for genotoxicity caused by glyphosate-based formulations is

strong."

       77.        Despite knowledge to the contrary, Defendants maintain that there is no evidence

that Roundup is genotoxic, that regulatory authorities and independent expefis are in agreement

that Roundup is not genotoxic, and that there is no evidence that Roundup is genotoxic.



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       78.      In addition to glyphosate and Roundup's genotoxic properties, Defendants have

long been aware of glyphosate's carcinogenic properties.

       19.      Glyphosate and Roundup         in   particular have long been associated with

carcinogenicity and the development of numerous forms of cancer, including, but not limited to,

non-Hodgkin's lymphoma, Hodgkin's lymphoma, multiple myeloma, and soft tissue sarcoma.

       80.      Defendant has known      of this    association since the early   to mid-1980s   and

numerous human and animal studies have evidenced the carcinogenicity of glyphosate and/or

Roundup.

       81.      In   1985 the EPA studied the effects   of glyphosate in mice finding a dose related

response in male mice linked to renal tubal adenomas, a rate tumor. The study concluded the

glyphosate was oncogenic.

       82.      In 2003 Lennart Hardell and Mikael Eriksson published the results of two         case


controlled studies on pesticides as a risk factor for NHL and hairy cell leukemia.

       83.      The study concluded that glyphosate had the most significant relationship to NHL

among all herbicides studies with an increased odds ratio of 3.1   1.


       84.      In 2003 AJ De Roos published a study examining the pooled data of mid-western

farmers, examining pesticides and herbicides as risk factors for NHL.

       85.      The study, which controlled for potential confounders, found a relationship

between increased NHL incidence and glyphosate.

       86.      In 2008 Mikael Eriksson published a population based case-control study of

exposure to various pesticides as a risk factor for NHL.

        87.     This strengthened previous associations between glyphosate and NHL.


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       88.      In spite of this knowledge, Defendant continued to issue broad and sweeping

statements suggesting that Roundup was, and is, safer than ordinary household items such as table

salt, despite a lack of scientific support for the accuracy and validity of these statements and, in

fact, voluminous evidence to the contrary.

       89.      Upon information and belief, these statements and representations have been made

with the intent of inducing Plaintiff, the agricultural community, and the public at large to

purchase and increase the use of Defendant's Roundup for Defendant's pecuniary gain, and in

fact, did induce Plaintiff to use Roundup.

       90.      Defendant made these statements              with   complete disregard and reckless

indifference to the safety of Plaintiff and the general public.

        91.     Notwithstanding Defendant's representations, scientific evidence has established a

clear association between glyphosate and genotoxicity, inflammation, and an increased risk of

many cancers, including, but not limited to, NHL, Multiple Myeloma, and soft tissue sarcoma.

        92.      Defendant knew or should have known that glyphosate is associated with an

increased risk of developing cancer, including, but not limited to, NHL, Multiple Myeloma, and soft

tissue sarcomas.

        93.      Defendant failed to appropriately and adequately inform and warn Plaintiff of the

serious and dangerous risks associated        with   the use   of and exposure to glyphosate and/or
Roundup, including, but not limited to, the risk of developing NHL, as well as other severe and

personal injuries, which are permanent and/or long-lasting in nature, cause significant physical

pain and mental anguish, diminished enjoyment of life, and the need for medical treatment,

monitoring and/or medications.


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        94.      Despite the IARC's classification of glyphosate as a class 2,{ probable carcinogen,

Defendant continues to maintain that glyphosate and/or Roundup is safe, non-carcinogenic, non-

genotoxic, and falsely warrant to usets and the general public that independent experts and

regulatory agencies agree that there is no evidence of carcinogenicity or genotoxicity in glyphosate

and Roundup.

        95.      Defendant has claimed and continues         to claim that Roundup is      safe, non-

carcinogenic, and non-genotoxic. These misrepresentations are consistent with Defendant's

cavalier approach to investigating and ensuring the safety oftheir products, the safety ofthe public at

large, and the safety of Plaintiff.

                              SCIENTIFIC FRAUD UNDERLYING
                        THE SAFETY DETERMINATION OF GLYPHOSATE

        96.      After the EPA's 1985 classification of glyphosate as possibly carcinogenic to

humans (Group C), Monsanto exerted pressure upon the EPA to change its classification.

        97   .   This culminated in the EPA's reclassification of glyphosate to Group E, which was

based upon evidence of non-carcinogenicity in humans.

        98.      In so classifying, the EPA stated that "[i]t should be emphasized, however, that

designation of an agent in Group E is based on the available evidence at the time of evaluation and

should not be interpreted as a definitive conclusion that the agent   will not be a carcinogen under

any circumstances."

        99.      On two occasions, the EPA found that laboratories hired by Monsanto to test the

toxicity of its Roundup products for registration purposes committed scientific fraud.

        100.     In the first instance, Monsanto hired Industrial Bio-Test Laboratories ("IBT") to

perform and evaluate pesticide toxicology studies relating            to   Roundup.   IBT performed
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approximately 30 tests on glyphosate and glyphosate-containing products, including 11 of the 19

chronic toxicology studies needed to register Roundup with the EPA.

       101.     In 1976, the Food   and Drug Administration   ("FDA") performed an inspection of

IBT and discovered discrepancies between the raw data and the final report relating to

toxicological impacts of glyphosate. The EPA subsequently audited IBT and determined that the

toxicology studies conducted for Roundup were invalid. An EPA reviewer stated, after finding

"routine falsification of data" at IBT, that it was "hard to believe the scientific integrity of the

studies when they said they took specimens of the uterus from male rabbits."

       I02.     Three top executives of IBT were convicted of fraud in 1983.

       103.     In the second incident, Monsanto hired Craven Laboratories ("Craven") in 1990 to

perform pesticide and herbicide studies, including several studies on Roundup.

       104. In March of        1991, the EPA announced that it was investigating Craven for

"allegedly falsiffing test data used by chemical firms to win EPA approval of pesticides."

       105.     The investigation lead to the indictments of the laboratory owner and a handful   of

employees.

                          MONSANTO'S CONTINUING DISREGARD
                      FOR THE SAFETY OF PLAINTIFF AND THE PUBLIC

       106.     Monsanto claims on its website that "[r]egulatory authorities and independent

experts around the world have reviewed numerous long-term/carcinogenicity and genotoxicity

studies and agree that there is no evidence that glyphosate, the active ingredient in Roundup brand




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herbicides and other glyphosate-based herbicides, causes cancer, even at veryhigh doses, and that it is

not genotoxic."l0

        l0l.          Ironically, the primary source for this statement is a 1986 report by the WHO, the

same organizationthat now considers glyphosate to be a probable carcinogen.

        108.          Glyphosate, and Defendant's Roundup products in particular, have long been

associated with serious side effects and many regulatory agencies around the globe have banned or

are currently banning the use of glyphosate herbicide products.

        109.          Defendant's statements proclaiming the safety of Roundup and disregarding its

dangers misled Plaintiff.

        110.          Despite Defendant's knowledge that Roundup was associated with an elevated

risk of developing cancer, Defendant's promotional campaigns focused on Roundup's

purported "safety profile."

        111.          Defendant's failure to adequately warn Plaintiff resulted in (1) Plaintiff using and

being exposed to glyphosate instead of using another acceptable and safe method of controlling

unwanted weeds and pests; and (2) scientists and physicians failing to warn and instruct consumers

about the risk of cancer, including NHL, and other injuries associated with Roundup.

        112.          Defendant failed to seek modification of the labeling of Roundup to include

relevant information regarding the risks and dangers associated with Roundup exposure.

        I   13.       The failure of Defendant to appropriately warn and inform the EPA has resulted

in inadequate wamings in safety information presented directly to users and consumers.




10 Backgrounder   -   Glyphosate: No Evidence of Carcinogenicity. Updated Novernber 20 14. (downloaded October 9
201s).


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          ll4.      The failure of Defendant to appropriately warn and inform the EPA has resulted

in the absence of warning or caution statements that are adequate to protect health and the

environment.

          1   15.   The failure of Defendant to appropriately warn and inform the EPA has resulted

in the directions for use that are not adequate to protect health and the environment.

          1   16.   By reason of the foregoing acts and omissions, Plaintiff seeks compensatory

damages as       a result of Plaintiff s use of, and exposure to, Roundup which caused or was a

substantial contributing factor       in   causing Plaintiff   to suffer from   cancer, specifically Non-

Hodgkin's Lymphoma, and Plaintiff suffered severe and personal injuries which are permanent and

lasting in nature, physical pain and mental anguish, including diminished enjoyment of life.

          lll.      By reason of the foregoing, Plaintiff was severely and permanently injured.

          118.      By reason of the foregoing acts and omissions, Plaintiff endured and, in        some


categories continues       to   suffer, emotional and mental anguish, medical expenses, and other

economic and non-economic damages, as a result of the actions and inactions of the Defendants.

                                  PLAINTIFF'S EXPOSURE TO ROUNDUP

          119.      Plaintiff was exposed to Roundup beginning in or around June of 1916 and

continued until in or around June of 2017 while involved with aircraft maintenance.

          120.      For many years, Plaintiff was exposed to Roundup on a regular basis and followed

all   safety and precautionary warnings during the course of use

          l2l.      Plaintiff was subsequently diagnosed with Non-Hodgkin's Lymphoma in or around

August 16,2013. The development of Plaintiff sNon-Hodgkin'sLymphoma was proximately and

actually caused     by   exposure to Defendant's Roundup products



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             122.          As a result of his injury, Plaintiff incurred significant economic and non-

economic damages.

                   EOUITABLE TOLLING OF APPLICABLE STATUTE OF LIMITATIONS

             123.          Plaintiff incorporates by reference all prior paragraphs of this Complaint      as   if
fully set forth herein.

             I24.          The running of any statute of limitations has been tolled by reason of Defendant's

fraudulent concealment. Defendant, through their affirmative misrepresentations and omissions,

actively concealed from Plaintiff the true risks associated with Roundup and glyphosate.

             125.          At all relevant times, Defendant has maintained that Roundup is safe, non-toxic, and

non-carcinogenic.

             126.          Indeed, even as of October 2018, Defendant continues to represent to the public

that "Regulatory authorities and independent experts around the world have reviewed numerous

long-term/carcinogenicity and genotoxicity studies and agree that there                       is no evidence that

glyphosate, the active ingredient in Roundup@ brand herbicides and other glyphosate-based

herbicides, causes cancer, even at very high doses, and that it is not genotoxic" (emphasis added).1                 1



             I27   .       As a result of Defendant's actions, Plaintiff was unaware, and could not reasonably

know or have learned through reasonable diligence that Roundup and/or glyphosate contact,

exposed Plaintiff to the risks alleged herein and that those risks were the direct and proximate

result of Defendant's acts and omissions.

             128.          Furthermore, Defendant is estopped from relying on any statute of limitations

because of their fraudulent concealment of the true character, quality and nature                     of   Roundup.



I   I   Backgrounder   -   Glyphosate: No Evidence of Carcinogenicity, Updated November 20 14. (downloaded October 9


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Defendant was under a duty          to disclose the true character, quality, and nature of     Roundup

because    this was non-public information over which Defendant had and continue to                have

exclusive control, andbecauseDefendantknewthatthis informationwasnotavailableto Plaintiff orto

distributors of Roundup. In addition, Defendant is estopped from relying on any statute of limitations

because of their intentional concealment of these facts.

           129.    Plaintiff had no knowledge that Defendant was engaged in the wrongdoing

alleged herein. Because      of the fraudulent acts of concealment of wrongdoing by          Defendant,

Plaintiff could not have reasonably discovered the wrongdoing at any time prior. Also, the

economics    of this fraud should be considered.      Defendant had the ability      to and did spend

enormous amounts of money           in furtherance of their purpose of marketing, promoting       and/or

distributing aprofitable herbicide, notwithstandingthe known orreasonablyknownrisks. Plaintiff          s


decedent and medical professionals could not have afforded and could not have possibly conducted

studies to determine the nature, extent, and identity of related health risks, and were forced to rely on

only the Defendant's representations. Accordingly, Defendant is precluded by the discovery rule

and/or the doctrine of fraudulent concealment from relying upon any statute of limitations.

                                         FIRST CAUSE OF ACTION
                                             (NEGLIGENCE)

           130.    Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect     as


if more fully   set forth herein.

           131.    Defendant had a duty to exercise reasonable care in the designing, researching,

testing, manufacturing, marketing, supplying, promoting, packaging, sale, and/or distribution of


20 l s).

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Roundup into the stream of commerce, including a duty to assure that the product would not cause

users to suffer unreasonable, dangerous side effects.

       I32.     Defendant failed to exercise ordinary care in the designing, researching, testing,

manufacturing, marketing, supplying, promoting, packaging, sale, testing, quality assurance,

quality control, and/or distribution of Roundup into interstate commerce in that Defendant knew

or should have known that using Roundup created a high risk of unreasonable, dangerous side

effects, including, but not limited to, the development ofNHL, as well as other severe and personal

injuries which are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as need for lifelong medical treatment, monitoring, andlor

medications.

       133.     The negligence by the Defendant, their agents, servants, and,/or employees, included

but was not limited to the following acts and/or omission:

                     a)         Manufacturing, producing, promoting, formulating,
                          creating, andl or designing Roundup without thoroughly testing
                          it;

                     b)         Failing to test Roundup andlor failing   to adequately,
                          sufficiently, and properly test Roundup;

                     c)        Not conducting sufficient testing programs to determine
                          whether or not Roundup was safe for use; in that Defendant
                          herein knew or should have known that Roundup was unsafe
                          and unfit for use by reason ofthe dangers to its users;


                     d)        Not conducting sufficient testing programs and studies to
                          determine Roundup's carcinogenic properties even after
                          Defendant had knowledge that Roundup is, was, or could be
                          carcinogenic;




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               e)         Failing   to conduct sufficient testing programs to
                    determine the safety of "inert" ingredients andlor adjuvants
                    contained within Roundup, and the propensity of these
                    ingredients to render Roundup toxic, increase the toxicity of
                    Roundup, whether these ingredients are carcinogenic, magniff
                    the carcinogenic properties of Roundup, and whether or not
                    "inert" ingredients andlor adjuvants were safe for use;

               0         Negligently failing to adequately and correctly warn the
                    Plaintiff, Plaintiffs decedent, the public, the medical and
                    agricultural professions, and the EPA of the dangers of
                    Roundup;


               g)        Negligently failing to petition the EPA to strengthen the
                    warnings associated with Roundup;


               h)         Failing to provide adequate cautions and wamings to
                    protect the health of users, handlers, applicators, and persons
                    who would reasonably and foreseeably come into contact with
                    Roundup;

               i)        Negligently marketing, advertising, and recommending the
                    use   of Roundup without sufficient     knowledge as to its
                    dangerous propensities;


               j)         Negligently representing that Roundup was safe for use
                    for its intended purpose, and/or that Roundup was safer than
                    ordinary and common items such as table salt, when, in fact, it
                    was unsafe;


               k)         Negligently representing that Roundup had equivalent
                    safety and efficacy as other forms of herbicides;


               D          Negligently designing Roundup in a manner, which was
                    dangerous to    its   users;


               m)       Negligently manufacturing, producing, and formulating
                    Roundup in a manner, which was dangerous to its users;


               n)        Concealing information from the Plaintiff and Plaintiffs
                    decedent while knowing that Roundup was unsafe, dangerous,


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                         and/or non-conforming with EPA regulations;


                    o)            Improperly concealing and/or          misrepresenting
                         information from the Plaintiff, Plaintiff s decedent, scientific
                         and medical professionals, andlor the EPA, concerning the
                         severity of risks and dangers of Roundup compared to other
                         forms of herbicides; and


                    p)            Negligently selling Roundup with a false and misleading
                         label.


       I34.     Defendant under-reported, underestimated and downplayed the serious dangers     of

Roundup.

       135.    Defendant negligently and deceptively compared the safety risks and/or dangers   of

Roundup with common everyday foods such as table salt, and other forms of herbicides.

       136.    Defendant was negligent and/or violated Idaho               law in the designing,
researching, supplying, manufacturing, promoting, packaging, distributing, testing, advertising,

warning, marketing, and selling of Roundup in that they:

                         a)     Failed to use ordinary care in designing and manufacturing
                              Roundup so as to avoid the aforementioned risks to
                              individuals when Roundup was used as an herbicide;


                         b)    Failed to accompany their product with proper and/or
                              accurate wamings regarding all possible adverse side
                              effects associated with the use of Roundup;


                         c) Failed to       accompany their product with proper
                              warnings regarding all possible adverse side effects
                              concerning the failure and/or malfunction of Roundup;


                         d)    Failed    to
                                         accompany their product with accurate
                              wamings regarding the risks of all possible adverse side
                              effects concerning Roundup   ;




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                             e)    Failed to warn Plaintiff and Plaintiffs decedent of the
                                  severity and duration of such adverse effects, as the
                                  warnings given did not accurately reflect the symptoms, or
                                  severity of the side effects including, but not limited to, the
                                  development of NHL;


                             0     Failed to conduct adequate testing, clinical testing and
                                  post-marketing surveillance to determine the safety of
                                  Roundup;


                             g)    Failed to conduct adequate testing, clinical testing, and
                                  post-marketing surveillance to determine the safety of
                                  Roundup's "inert" ingredients and/or adjuvants;

                             h)    Negligently misrepresented the evidence of Roundup's
                                  genotoxicity and carcinogenicity; and


                             i)    Were otherwise careless and/or negligent.


         I37   .   Despite the fact that Defendant knew or should have known that Roundup caused or

could cause, unreasonably dangerous side effects, Defendant continued to market, manufacture,

distribute, and/or sell Roundup to consumers, including Plaintiff.

         138.      Defendant knew or should have known that consumers such as the Plaintiff would

foreseeably suffer injury as a result of Defendant's failure to exercise ordinary care, as set forth

above.

         139.      Defendant's violations     of law andlor negligence were the proximate cause of

Plaintiff s injuries, harm   and economic loss, which    Plaintiff suffered and/or will continue to suffer.

         140.      As a result of the foregoing acts and omissions, the Plaintiff suffered from serious

and dangerous side effects including, but not     limitedto, Non-Hodgkin's Lymphoma,        as   well   as   other

severe and personal injuries which are permanent and lasting in nature, physical pain and mental

anguish, diminished enjoyment of life, and financial expenses for hospitalizatron and medical care.


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Further, Plaintiff suffered life-threatening Non-Hodgkin's Lymphoma, and severe personal injuries,

which are permanent and lasting in nature, physical pain and mental anguish, including diminished

enjoyment of life.

                                     SECOND CAUSE OF'ACTION
                           (STRICT PRODUCTS LIABILITY _ DESIGN DEF'ECT)

        14I.         Plaintiff repeats, reiterates and, re-alleges each and every allegation of this

Complaint contained in each ofthe foregoing paragraphs inclusive, with the same force and effect   as


if more fully     set forth herein.

        I42.         At all times herein mentioned, the Defendant designed, researched, manufactured,

tested, advertised, promoted, sold, distributed, andlor have acquired the Defendant who have

designed, researched, tested, advertised, promoted, marketed, sold, and distributed Roundup as

hereinabove described that was used by the Plaintiff.

        143   .      Defendant's Roundup was expected to and did reach the usual consumers, handlers,

and persons coming into contact with said product without substantial change in the condition in

which it was produced, manufactured, sold, distributed, and marketed by the Defendant.

        144.         At those times, Roundup was in an unsafe, defective, and inherently dangerous

condition, which was dangerous to users, and in particular, the Plaintiff herein.

        145.         The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was defective in design or formulation in that, when it

left the hands of the manufacturer and/or suppliers, the foreseeable risks exceeded the benefits

associated with the design or formulation of Roundup.

        146.        The Roundup designed, researched, manufactured, tested, adverlised, promoted,

marketed, sold, and distributed by Defendant was defective in design and/or formulation, in that,

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when   it left the hands of the Defendant manufacturers      and/or suppliers,   it   was unreasonably

dangerous, unreasonably dangerous in normal use, and       it was more dangerous than an ordinary

consumer would expect.

        I47.   At all times herein mentioned, Roundup was in a defective condition          and unsafe,

and Defendants knew or had reason to know that said product was defective and unsafe, especially

when used in the form and manner as provided by the Defendant. In particular, Defendant's

Roundup was defective in the following ways:


                            a)       When placed in the stream of commerce,
                                 Defendant's Roundup products were defective in
                                 design and formulation and, consequently, dangerous to
                                 an extent beyond that which an ordinary consumer
                                 would anticipate;


                            b)        When placed       in the stream of       commerce,
                                 Defendant's Roundup products were uffeasonably
                                 dangerous in that they w er e hazardous and po sed a grave
                                 risk of cancer and other serious illnesses when used in a
                                 reasonably anticipated manner;


                            c)        When placed     in the stream of commerce,
                                 Defendants' Roundup   products contained unreasonably
                                 dangerous design defects and were not reasonably safe
                                 when used in a reasonably anticipated manner;


                            d)        Defendant did not sufficiently test, investigate,
                                 or study its Roundup products;

                            e)        Exposure to Roundup presents a risk of harmful
                                 side effects that outweigh anypotential utility stemming
                                 from the use of the herbicide;


                            0        Defendant knew or should have known at the time
                                 of marketing its Roundup products that exposure to


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                                   Roundup and could result in cancer and other severe
                                   illnesses and injuries; and


                              g)       Defendant did not conduct adequate post-
                                   marketing surveillance of its Roundup products.


        148.     Defendants knew, or should have known that at all times herein mentioned its

Roundup was in a defective condition and was and is inherently dangerous and unsafe.

        149.     Plaintiff was exposed to Defendants' Roundup, as described above, without

knowledge of Roundup' s dangerous characteristics.

        150.     At the time of the Plaintiff   s use   of and exposure to Roundup, Roundup was being

used for the purposes and in a manner normally intended, as a broad-spectrum herbicide.

        151.     Defendant with this knowledge voluntarily designed its Roundup with a dangerous

condition for use by the public, and in particular the Plaintiff.

        152.     Defendant had a duty to create a product that was not unreasonably dangerous for its

normal, intended use.

        153.     Defendant created a product that was and is unreasonably dangerous for its normal,

intended use.

        154.     Defendant marketed and promoted a product in such a manner so as to make it

inherently defective as the product downplayed its suspected, probable, and established health

risks inherent with its normal, intended use.

        155.     The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was manufactured defectively in that Roundup left the

hands of Defendant in a defective condition and was unreasonably dangerous to its intended users.




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        156.        The Roundup designed, researched, manufactured, tested, adveftised, promoted,

marketed, sold, and distributed by Defendant reached their intended users inthe same defective and

unreasonably dangerous condition in which the Defendant's Roundup was manufactured.

        157.        Defendant designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed a defective product, which created an unreasonable risk to the

health of consumers and to the Plaintiff in particular, and Defendant is therefore strictly liable for

the injuries sustained by the Plaintiff.

        158.        The Plaintiff could not,   by the exercise of reasonable   care, have discovered

Roundup's defects herein mentioned or perceived its danger.

        159.        By reason of the foregoing, the Defendant has become strictly liable to the

Plaintiff for the manufacturing, marketing, promoting, distribution, and selling of a defective

product, Roundup.

        160.        Defendant's defective design, of Roundup amounts to willful, wanton, and/or

reckless conduct by Defendant.

        161.        Defects in Defendant's Roundup were the cause or a substantial factor in causing

Plaintiff   s injuries.

        162.       As a result of the foregoing acts and omission, the Plaintiff developed Non-

Hodgkin's Lymphoma,and sufferedsevereandpersonalinjuries,whicharepermanentandlasting

in nature, physical pain and mental anguish, including diminished enjoyment of life, and financial

expenses for hospitalization and medical care.




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                                         THIRD CAUSE OF ACTION
                                    PR D      LIABILITY _ F'AIL

         163.      Plaintiff repeats, reiterates and re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect      as


if more fully   set forth herein.

         164.      Defendant has engaged       in the business of      selling, testing, distributing,

supplying, manufacturing, marketing, and/or promoting Roundup, and through that conduct have

knowingly and intentionally placed Roundup into the stream of commerce with full knowledge that

it reaches consumers      such as Plaintiff who are exposed to     it through ordinary   and reasonably

foreseeable uses.

         165.     Defendant did      in fact sell,   distribute, supply, manufacture, and/or promote

Roundup    to Plaintiff. Additionally, Defendant expected the Roundup that they were            selling,

distributing, supplying, manufacturing, andlor promoting to reach         -   and Roundup did   in   fact

reach   - consumers,    including Plaintiff, without any substantial change in the condition of the

product from when it was initially distributed by Defendant.

         166. At the time of manufacture, Defendant could have provided the warnings                  or

instructions regarding the full and complete risks of Roundup and glyphosate-containing products

because it knew or should have known ofthe unreasonable risks of harm associated with the use         of

and/or exposure to such products.

         167.     At all times herein mentioned, the aforesaid product was defective      and unsafe in

manufacture such that it was unreasonably dangerous to the user, and was so at the time it was

distributed by Defendant and at the time Plaintiff was exposed to and/or ingested the product. The

defective condition of Roundup was due in part to the fact that it was not accompanied by proper

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warnings regarding its carcinogenic qualities and possible side effects, including, but not limited to,

developing Non-Hodgkin's Lymphoma as a result of exposure and use.

         1   68.        Roundup did not contain   a   warning or caution statement, which was necessary and,   if
complied with, was adequate to protect the health of those exposed in violation of 7 U.S.C.                    $


136j(a)(1)(E).

         169.           Defendant's failure to include    a   waming or caution statement which was necessary

and,   if complied with, was adequate         to protect the health of those exposed, violated 7 U.S.C.        $


136j(aXlXE)        as   well as the laws of the State of ldaho.

         170.           Defendant could have amended the label             of Roundup to provide additional

warnings.

         I7I.           This defect caused serious injury to Plaintiff, who used Roundup in its intended

and foreseeable manner.

         172. At all times herein mentioned, Defendant                      had   a duty to   properly design,

manufacture, compound, test, inspect, package,label, distribute, market, examine, maintain supply,

provide proper warnings, and take such steps to assure that the product did not cause users to

suffer from unreasonable and dangerous side effects.

         173.           Defendant labeled, distributed, and promoted the aforesaid product that         it   was

dangerous and unsafe for the use and purpose for which it was intended.

         174.       Defendant failed to warn of the nature and scope of the side effects associated

with Roundup, namely its carcinogenic properties and its propensity to                   cause   or serve as a

substantial contributing factor in the development of Non-Hodgkin's Lymphoma.




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         I75.     Defendant was aware of the probable consequences of the aforesaid conduct.

Despite the fact that Defendant knew or should have known that Roundup caused serious injuries,

Defendant failed to exercise reasonable care to warn of the dangerous carcinogenic properties and

side effect of developing Non-Hodgkin's Lymphoma from Roundup exposure, even though these

side effects were known or reasonably scientifically knowable at the time of distribution. Defendant

willfully and deliberately failed to avoid the consequences       associated with their failure to warn,

and   in doing   so, Defendants acted   with a conscious disregard for the safety of Plaintiff.

         T76.     Atthe time of exposure, Plaintiff could not have reasonably discovered any defect in

Roundup prior through the exercise ofreasonable care.

         I77.     Defendant, as the manufacturers and/or distributors of the subject product, are

held to the level of knowledge of an expert in the field.

         I78.     Plaintiff reasonably relied upon the skill, superior knowledge, and judgment of

Defendant.

         179.     Had Defendant properly disclosed the risks associated with Roundupproducts,

Plaintiff would have avoided the risk of Non-Hodgkin's Lymphoma by not using Roundup products.

         180.     The information that Defendant did provide or communicate failed to contain

adequate warnings and precautions that would have enabled Plaintiff, and similarly situated

individuals, to utilize the product safely and with adequate protection. Instead, Defendant

disseminated information that was inaccurate, false, and misleading and which failed to

communicate accurately or adequately the comparative severity, duration, and extent of the risk       of

injuries associated with use of and/or exposure to Roundup and glyphosate; continued to promote

the efficacy of Roundup, even after it knew or should have known ofthe unreasonable risks from use



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or exposure; and concealed, downplayed, or otherwise suppressed, through aggressive marketing

and promotion, any information or research about the risks and dangers of exposure     to   Roundup and

glyphosate.

           181. To this day, Defendant has failed to adequately            warn of the true risks of

Plaintiff   s injuries associated   with the use of and exposure to Roundup.

           182.    As a result of its inadequate wamings, Defendant's Roundup products were

defective and unreasonably dangerous when they left the possession and/or control of Defendant,

were distributed by Defendant, and used by Plaintiff.

           183.    As a direct and proximate result of Defendant's actions as alleged herein, and in

such other ways to be later shown, the subject product caused     Plaintiffto sustain injuries as herein

alleged.

                                       FOURTH CAUSE OF ACTION
                                    GREACH OF IMPLIED WARRANTIES

           184.    Plaintiff repeats, reiterates, and re-alleges each and every allegation of this

Complaint contained in each of the foregoing paragraphs inclusive, with the same force and effect all

if more fully   set forth herein.


           185. At all times herein mentioned, the Defendant manufactured,                   distributed,

compounded, recommended, merchandized, advertised, promoted, and sold Roundup and/or have

recently acquired the Defendant who have manufactured, compound pofirayed, distributed,

recommended, merchandized, advertised, promoted, and sold Roundup, as a broad spectrum

herbicide. These actions were under the ultimate control and supervision of Defendant.




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        186.    At the time Defendant marketed, sold, and distributed Roundup for use by Plaintiff,

Defendant knew     of Roundup's    intended use and impliedly warranted the product to          be or

merchantable quality and safe and fit for this use.

        187.    The Defendant impliedly represented and warranted to Plaintiff and users of

Roundup, the agricultural community, andlor the EPA that Roundup was safe and of merchantable

quality and fit for the ordinary purpose for which it was to be used.

        188.    These representations and warranties were false, misleading, and inaccurate in that

Roundup was unsafe, umeasonably dangerous, not of merchantable quality, and defective.

        189.    Plaintiff and/or the EPA did rely on said implied warranty of merchantability of

fitness for particular use and purpose.

        190.    Plaintiff reasonably relied upon the skill   and   judgment of Defendant as to whether

Roundup was of merchantable quality and safe and fit for its intended use.

        l9l.    Roundup was injected into the stream          of   commerce   by the Defendant in     a


defective, unsafe, and inherently dangerous condition, and the products' materials were expected to

and did reach users, handlers, and persons coming into contact with said products without

substantial change in the condition in which they were sold.

        192.    The Defendant breached the aforesaid implied warranties, as their herbicide

Roundup was not fit for its intended purposes and uses.

        193.    As a result of the foregoing acts and omissions, Plaintiff suffered from Non-

Hodgkin's Lymphoma           and Plaintiffsufferedsevereandpersonalinjurieswhicharepermanent

and lasting in nature, physical pain and mental anguish, including diminished enjoyment        of life,




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financial expenses for hospitalization and medical care, including medical expenses and other

economic, and non-economic damages

                                          PRAYER FOR RELIEF

                WHEREFORE, Plaintiff demands judgment against the defendants on each of the

above-referenced claims and causes of action as follows:

          1.    Awarding compensatory damages in excess ofthe jurisdictional amount, including,

but not limited to pain, suffering, emotional distress, loss of enjoyment of life, and other non-

economic damages in an amount to be determined at trial of this action;

          2.    Awarding compensatory damages          to Plaintiff for past and future damages,
including, but not limited to, Plaintiff pain and suffering and for severe and permanent personal

injuries sustained by the Plaintiff including health care costs and economic loss;

          3.    Awarding economic damages in the form of medical expenses, out of pocket

expenses, lost earnings and other economic damages in an amount to be determine          attrial of this

action;

          4.    Punitive and/or exemplary damages for the wanton, willful, fraudulent, and

reckless acts of the Defendant who demonstrated a complete disregard and reckless indifference for

the safety and welfare of the general public and to the Plaintiff s decedent in an amount sufftcient to

punish Defendant and deter future similar conduct, to the extent allowed by applicable law;

          5.    Pre-judgment interest;

          6.    Post-judgment interest;

          7.    Awarding Plaintiff reasonable attorneys' fees;

          8.    Awarding Plaintiff the costs of these proceedings; and


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               9.                 Such other and further relief as this Court deems just and proper.

                                                       DEMAND FOR JURY TRIAL

                                 Plaintiff hereby demands trial by jury   as   to all issues

                                 DATED    tfris I (#     day of October, 2018.

                                                                       ROSSMAN LAW GROUP, PLLC




                                                                       By
                                                                            Eric S. Rossman
                                                                            Attorneys for Plaintiff




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